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uN¢TED sTATEs oF AMERicA, )
)
Plaintiff, )
)
\/s_ ) cR. No. 03-20389-3
)
cAL\/iN coee, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on June 30, 2005, the United States Attorney for this district,
l_orraine Craig, appearing for the Government and the defendant Ca|vin Cobb, appearing in person and
With counsel, Ned Germany, Who represented the defendant

With leave of the Court, the defendant Withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts ‘i and 2 of the indictmentl

Piea colloquy was held and the Court accepted the guilty p|ea.

SENTENCING in this case is SET for TUESDAY, OCTOBER 4, 2005, at 1:30 P.M.,
in Courtroom No. 1, on the 11th floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

ENTERED this the$_ day of June, 2005.

 

J. DAN|EL BREEN\
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UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
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Honorable J. Breen
US DISTRICT COURT

